Case 1:09-cr-00169-JRH-BKE Document 442 Filed 01/13/15 Page 1 of 1



              IN THE UNITED     STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISION


UNITED    STATES      OF AMERICA            *


        vs.                                 *         CR 109-169


JEFFREY       LYON   BOYD                   *




                                   ORDER




        Defendant filed a motion for reduction of sentence under

18 U.S.C. § 3582 (c) (2) on the basis that Amendment 782 to the

United States Sentencing Guidelines                     revised the guidelines

applicable to drug trafficking offenses.                    (Doc. no. 439.) Even

though Amendment 782 became effective on November 1, 2014, no

defendant       may be      released on the basis            of   the    retroactive

amendment before November 1,                2015.      See U.S.S.G.      Amend.   788.

Thus,    the Court will undertake a review of cases involving

drug    trafficking         offenses   in       due   course.     If    Defendant   is

entitled to a         sentence reduction as a           result of amendments to


the United States Sentencing Guidelines,                    the Court will make

such a reduction sua sponte. Accordingly,                    Defendant's motion

(doc. no. 439)        is DEFERRED. The Clerk is directed to TERMINATE

the motion for administrative purposes.

        ORDER ENTERED at Augusta,                Georgia^^-fe&vj-S ^-/^^^day of

January,      2015.

                                                                  fhdal Hall
                                                          Itates District Judge
                                                      fern District of Georgia
